   Case 2:09-cr-00155-MHT-WC Document 256 Filed 04/19/10 Page 1 of 2




  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA              )
                                      )
    v.                                )     CRIMINAL ACTION NO.
                                      )       2:09cr155-MHT
WILLY JOE MELGAREJO                   )            (WO)

                           OPINION AND ORDER

    Defendant Willy Joe Melgarejo submitted a motion

pursuant to 18 U.S.C. § 3145(c), requesting that he be

released from custody and allowed to self-surrender at a

facility to be designated by the Bureau of Prisons at a

later date (doc. no. 249).            Melgarejo was sentenced to a

term of 46 months by this court on April 1, 2010, and was

immediately rendered to the custody of the U.S. Marshals.

Under    18    U.S.C.      3145(c),       the   court   may   order    the

temporary release of a person subject to detention upon

finding “exceptional reasons why such person's detention

would not be appropriate.”

    The       court   is    sympathetic         to   Melgarejo’s   family

circumstances, and particularly to the plight of his 13-

year-old      daughter,     who   was      allegedly    inappropriately
   Case 2:09-cr-00155-MHT-WC Document 256 Filed 04/19/10 Page 2 of 2




molested by a family member.         However, as it appears that

Melgarejo’s daughter is currently in the able care of her

mother, and Melgarejo’s wife, there exist no “exceptional

reasons” recommending that this court release Melgarejo

as he awaits designation.

                                 ***

    Accordingly, it is ORDERED that defendant Willy Joe

Melgarejo’s motion to self surrender (doc. no. 249) is

denied.

    It is further ORDERED that defendant Melgarejo’s

motion to seal (doc. no. 249) is granted.

    DONE, this the 19th day of April, 2010.

                             /s/ Myron H. Thompson
                          UNITED STATES DISTRICT JUDGE
